Case 2:03-cr-20169-.]DB Document 554 Filed 08/03/05 Page 1 of 2 Page|D 624

Fi;_;~;e;i: ___¢)’C/ g_;=_.;;_

1135 file ~3 P.*~"i 3= lit]

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

Plaintiff,
* No. 92-20132-B
vs. No. 03-20169~B ‘/
*
LERMEDEYO MALONE,
*
Defendant.

ORDER GRANTING PARTIES’ MOTION
TO CONTINUE SENTENCING

It is hereby ORDERED that the parties’ motion to continue the sentencing of defendant,
LERMEDEYO MALONE, currently set for August 8, 2005, is hereby GRANTED, and the
sentencing is hereby reset to Q(L-f-_, _LL, 2005, at q"OOam

DONE at Mernphis, Tennessee, this ag of/D 2005.

/ M

@rED sTATES DlsTiircT JUDGE

 

 

   

UNITED `sETATSDISTRICT COUR - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 554 in
case 2:03-CR-20169 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed

 

 

Howard L. Wagerman
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

